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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 IN RE:                                             )   CHAPTER 13
 KENNETH ALAN WILLIAMS                              )   CASE NUMBER A17-68372-WLH
                                                    )
    DEBTOR                                          )



                                    MOTION TO DISMISS
     COMES NOW Nancy J. Whaley, Standing Chapter 13 Trustee, in the above styled case, and
 respectfully shows the Court as follows:

                                              1.

    Debtor filed a petition for relief under Chapter 13 of Title 11.
                                               2.

     Debtor has failed to tender all plan payments due in accordance with the confirmed plan. As
 of 8/9/2018 the Trustee received a total of $6,119.00. The Trustee's records indicate the amount
 delinquent is $5,250.00. A receipt history is attached and marked exhibit A.

    Wherefore, the Trustee prays that this case be dismissed or in alternative that the Debtor
 proposes a modification to meet the requirements of the confirmed plan that ensures that the
 plan is completed within the allowable time.

 This the 13th day of August, 2018.


 /s/________________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
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                                 EXHIBIT "A"



 CASE NO: A17-68372-WLH                                         08/09/2018
 KENNETH ALAN WILLIAMS

                 RECEIPT HISTORY OVER THE LAST 12 MONTHS

 DATE                   TYPE              SOURCE              AMOUNT

 July 23, 2018         EPAYNSF        5079268000                 ($5,250.00)
 July 23, 2018         EPAYNSF        5079268002                   ($250.00)
 July 18, 2018         EPAYPR         5079268000                  $5,250.00
 July 18, 2018         EPAYPR         5079268002                    $250.00
 May 23, 2018          EPAYPR         4933991000                  $1,750.00
 March 30, 2018        EPAYPR         4792438000                    $955.00
 March 01, 2018        EPAYPR         4713843000                    $955.00
 February 01, 2018     EPAYPR         4636312002                    $955.00
 January 02, 2018      EPAYPR         4557946000                  $1,504.00

                                      Receipt Total:            $6,119.00
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:                                           )    CHAPTER 13
 KENNETH ALAN WILLIAMS                            )    CASE NUMBER A17-68372-WLH
                                                  )
    DEBTOR                                        )




                 NOTICE OF HEARING ON MOTION TO DISMISS CASE

 PLEASE TAKE NOTICE that the Chapter 13 Trustee has filed a Motion to Dismiss and related
 exhibits with the Court seeking an Order of Dismissal.

 PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on September 12,
 2018 at 1:50 PM in Courtroom 1403, Richard Russell Building, 75 Ted Turner Drive,
 S.W., Atlanta, GA. 30303.

 Failure to appear at the hearing or failure to resolve the matter prior to the hearing may result in
 the dismissal of your case. You should read this motion carefully and discuss it with your
 attorney, if you have one in your bankruptcy case. (If you do not have an attorney, you may
 wish to consult one.) If you do not want the Court to grant the dismissal of your case, you
 and/or your attorney must attend the hearing unless you have settled the matter prior to the
 hearing.


 This the 13th day of August, 2018.


 /s/________________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
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                                 CERTIFICATE OF SERVICE
 Case No: A17-68372-WLH

 This is to certify that I have this day served the following with a copy of the foregoing Chapter
 13 Trustee's Motion to Dismiss by depositing in the United States mail a copy of same in a
 properly addressed envelope with adequate postage thereon.

 Debtor(s):
 KENNETH ALAN WILLIAMS
 1307 RAINTREE DRIVE
 SNELLVILLE, GA 30078




 By Consent of the parties, the following have received an electronic copy of the foregoing
 Chapter 13 Trustee's Motion to Dismiss through the Court's Electronic Case Filing system.
 Attorney for the Debtor(s):
 SLIPAKOFF & SLOMKA, PC
 se@myatllaw.com




 This the 13th day of August, 2018.


 /s/____________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
